     Case 1-24-41125-ess         Doc 12-1     Filed 03/20/24      Entered 03/20/24 12:29:42




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
_____________________________________X

In re:                                                         Case No. 1-24-41125-ESS

  Fraleg Jefferson Corp.                                       Chapter 11
  dba Fraleg Quincy Corp
  dba 931 Lincoln Place Corp
                                                               Certificate of Service
                        Debtor

______________________________________X

        I, Sherri J. Smith, an attorney duly admitted to practice law before the District Courts of
the State of New York, respectfully certify that I am not a party to this action and am over 18
years of age.

On March 20, 2024, I electronically filed the foregoing Notice of Motion for Relief and the
Certification to the Bankruptcy Court using the CM/ECF system which electronically served the
following:

U.S. Trustee
Office of the United States Trustee
Eastern District of NY (Brooklyn)
Alexander Hamilton Custom House
One Bowling Green
Room 510
New York, NY 10004-1408

I hereby certify that also on this date I have mailed by the United States Postal Service the
foregoing Notice of Motion for Relief and the Certification to the following non CM/ECF
participants:

Debtor
Fraleg Jefferson Corp
45 Main Street
Suite 518
Brooklyn, NY 11236

I certify under penalty of perjury that the foregoing is true and correct.

Dated: March 20, 2024
       Uniondale, New York

                                                        /s/Sherri J. Smith
                                                        SHERRI J. SMITH, ESQ.
